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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 STEVEN ELLISON,

                 Plaintiff,

         v.
                                                            No. 20-cv-0579 (DLF/GMH)
 ANDREW M. SAUL,
 Commissioner of Social Security,

                 Defendant.


                                              ORDER

       Before the Court is the Report and Recommendation of Magistrate Judge G. Michael

Harvey, which was filed on December 8, 2020. Dkt. 15. The 14-day period for filing written

objections to this Report and Recommendation has now passed, see LCvR 72.3(b), and, as of this

date, neither party has filed an objection.

       Steven Ellison brought this case against the Commissioner of the Social Security

Administration challenging the denial of his application for Supplemental Security Income

benefits under Title II of the Social Security Act. See Dkt. 1. Ellison argued that the decision of

the Administrative Law Judge (ALJ) was not supported by substantial evidence and requested

reversal of the decision and a judgment that Ellison is entitled to benefits or, in the alternative,

remand for a new administrative hearing. See id. at 1–2. Magistrate Judge Harvey determined

that the ALJ’s findings were supported by substantial evidence and that the “ALJ amply

addressed Plaintiff’s claims.” See Dkt. 15 at 18, 22. Consequently, Magistrate Judge Harvey

recommended that this Court affirm the Social Security Administration’s decision. Id. at 24.
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          The Court has reviewed and adopts Magistrate Judge Harvey’s thorough and well-

reasoned 25-page opinion. Accordingly, upon consideration of the Report and Recommendation,

the absence of objections, and the entire record, it is

          ORDERED that the Report and Recommendation is ADOPTED in its entirety. It is

further

          ORDERED that the Plaintiff’s Motion for Judgment of Reversal, Dkt. 12, is DENIED.

It is further

          ORDERED that the Defendant’s Motion for Judgment of Affirmance, Dkt. 13, is

GRANTED.




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                                                           DABNEY L. FRIEDRICH
December 29, 2020                                          United States District Judge




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